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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 Jane Doe,                                             X
              Plaintiff,
       v.
 SEAN COMBS, DADDY’S HOUSE
 RECORDINGS INC., CE OPCO, LLC d/b/a
 COMBS GLOBAL f/k/a COMBS ENTERPRISES
 LLC, BAD BOY ENTERTAINMENT
 HOLDINGS, INC., BAD BOY PRODUCTIONS
 HOLDINGS, INC., BAD BOY BOOKS
 HOLDINGS, INC., BAD BOY RECORDS LLC,
                                                                       24-cv-07975-AT
 BAD BOY ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, ORGANIZATIONAL
 DOES 1-10, INDIVIDUAL DOES 1-10, AND
 SHAWN CARTER
              Defendants.



                                                       X


  AMENDED NOTICE OF DEFENDANT SHAWN CARTER’S MOTION TO DENY
 PLAINTIFF’S REQUEST TO PROCEED ANONYMOUSLY PURSUANT TO FED. R.
  CIV. P. 10(a) OR TO DISMISS THE COMPLAINT PURSUANT TO FED. R. CIV. P.
                                   12(b)(1)

       PLEASE TAKE NOTICE that upon the accompanying memorandum of law and the

exhibits attached thereto, and any other arguments or materials that the Court may consider before

this motion is taken under submission by the Court, Defendant Shawn Carter will move this Court

before the Hon. Analisa Torres, 500 Pearl St., New York, NY 10007, at a date and time to be

determined by this Court, for an order pursuant to Rule 10(a) of the Federal Rules of Civil

Procedure requiring Plaintiff to refile her complaint with her true name, or in the alternative,

dismissing Plaintiff’s Amended Complaint pursuant to Rule 12(b)(1) of the Federal Rules of Civil

Procedure.



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Respectfully submitted,



DATED:     December 9, 2024
                                           QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP




                                           By: /s/ Alex Spiro



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